Case 16-12987-mdc            Doc 82    Filed 04/14/20 Entered 04/14/20 12:00:56               Desc Main
                                       Document     Page 1 of 2
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Troy Cochran                                           CHAPTER 13
       Tyra Cochran
                                   Debtor(s)                  CASE NO. 16-12987 MDC
                             vs.
Nationstar Mortgage LLC
                                   Respondent


        RESPONSE OF NATIONSTAR MORTGAGE LLC TO DEBTOR’S MOTION TO
             RECONSIDER ORDER MODIFYING THE AUTOMATIC STAY

        Respondent, Nationstar Mortgage LLC, by and through its counsel, KML Law Group, P.C. ,

hereby responds to the Debtor’s Motion to Reconsider Order Modifying the Automatic Stay as follows:

        1.      Admitted.

        2.      Admitted.

        3.      Admitted.

        4.      Admitted.

        5.      Denied. Debtor made partial payments in the amount of $822.90 in or about September

2019, October 2019, December 2019, January 2020, and February 2020. Pursuant to the Notice of

Payment Change filed on or about July 29, 2019, the monthly mortgage payment changed to $831.68 as

of September 1, 2019.

        6.      Admitted.

        7.      Admitted.

        8.      Denied. Respondent is without specific information to admit or deny. Strict proof is

demanded at time of trial.

        9.      Denied. Respondent is without specific information to admit or deny. Strict proof is

demanded at time of trial. As referenced in Debtors’ instant Motion, Debtors and Respondent previously

entered into a stipulation to resolve prior post-petition mortgage delinquencies. Pursuant to the terms of

the stipulation, when Debtors thereafter failed to make ongoing, regular post-petition payments,

Respondent sent Debtors and Debtors’ counsel a Notice of Default on January 21, 2020 and provided a

deadline to cure of February 5, 2020. Debtors failed to cure the arrears, and, pursuant to the stipulation,
Case 16-12987-mdc         Doc 82     Filed 04/14/20 Entered 04/14/20 12:00:56                 Desc Main
                                     Document     Page 2 of 2
Respondent filed a Certification of Default. The agreed-upon stipulation provides that if Movant files a

Certification of Default, “the Court shall enter an Order granting Movant immediate relief from the

automatic stay.”   Nothing in Debtors’ Motion to Reconsider provides information to the contrary.

Further, as of April 13, 2020 Debtors are still owing for January 2020 through April 2020 payments of

$831.68, less a suspense balance of $787.78, for a total delinquent amount of $2,538.94.

        WHEREFORE, Respondent respectfully requests that Debtors’ Motion to Reconsider the Order

Modifying the Automatic Stay be denied.



                                                         /s/ Rebecca A. Solarz, Esquire ___
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Date: April 14, 2020
